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July 30, 2015

Miss Kelly Grace Price

534 w 187" st #7

New York, NY 10033
Graciegracie212@email.com
646 676 1940

Lt. Larocca

c/o Lieutenant’s Benevolent Association
Woolworth Building

233 Broadway

ste, 1801

New York, NY 10279

VIA FAX 212.964.4240

Dear Lt. LaRocca

J hope you remember me from 20114-2012 when you worked at the 28" pct. Ifyou récall 1 came to
the NYPD with complaints of violent physical, mental and economic abuse as well as complaints of
being trafficked by my intimate partner at the time: Raheem Andre Powell.

As Mr. Powell was assisting the MDAO and their “Crew Cut’ team in clearing out “gangs” from upper
Manhattan my complaints were never investigated and'] instead was falsely arres ted on hundreds of
counts of alleged harassment against Mr, Powell and thrown in Rikers Island where ! miscarried my

baby. After over two years iianaged to Outmaneuver the mewling ingénues- at the MDAO and-wina—

FULL DISMISSAL of all bogus charges against me. ] ‘am STILL however ona “DO NOT SERVE’ list kept
by the NYPD and the MDAO and am stil] being denied police assistance.

Lhave partiered with Sanctuary for Families, the largest advocacy group for DV and trafficking
victims in the cowntry and am bringing a Federal class-action lawsuit against the NYC, the NYPD, and
the MDAQ for blatantly denying me my due process rights, infringing my freedom of speech, denial of
equa! protection, abuse of process, malicious prosecution and for illegally seizing and searching me
imy phone is STILL being monitored by the NYPD).

FIVE Other women in NYC have been subsequently raped, sexually assaulted, stalked and
masturbated on by at least one man who assaulted me on 7/28/2012 because the NYPD and MDAO
refused to investigate my complaint of assault against him because ADA Strohbehn placed me ona
“do not serve" list and instructed the precinct to net help me. In fact, all other crimes this creep
committed against other women of Gotham happened AFTER he was apprehended and released and
told basically; “its your word against hers” by the 20 pet who arrested him on resisting arrest
disorderly conduct and felony assault of a police officer charges a month after his assault on me (the
DA instructed him to be only charged on the DO offense and he was given a desk appearance lickel,
NOT arrested for his assault against me a month prior, and released out the back door of the 20" pet).
So this person, Rami Baly, went on to continue his crime spree against women becuuse he had been
given the areen light to do so by the city because of their animus towards me. Maybe you can verily
what I say is true by looking up SOME of his charges for crimes against other innocent women:

 

RTT} Appe
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1505 Rami /2013 Crimjnali Court

 
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2013: Baly, : 08/02 New York
_ NOGO3 Rami /2013 Criminal
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] had attained a restraining order from the Family Court in Judge Lori Sattler’s part as per your
instructions in Oct/Nov of 2010 and thus the City of New York had a SPECIAL RELATIONSHIP with
me and had promised me protections and police services. Lt Larocca: if you had not instructed me
to do this my case would be MUCH weaker right now because of precedents set in the cases of
Riddick and MacLean that state that the NYPD does not HAVE to give assistance UNLESS there is a
pre-existing promise to protect or special relationsbip between the victim and the city. ] am
ETERNALLY GRATEFUL TO YOU FOR THIS STEWARD SHIP AND ADVICE,

need your assistance in proving that ADA Maria Strohbehn instructed you at the precinct to not |
investigate my claims of battery and trafficking and to not give me any assistance unless pre- :
approved by the MDAO. Please can you contact me to discuss this and other affidavits | need from
you. | know what happened to me sat hard in your heart. | know you know the law, which mandates
investigations and procedure to be followed when a complainant asserts certain types of crimes have
—yeen-conmitted-againstthem- Both McKinney's Grime Victinv's Statutes-antithe NYPD.handbook call
for procedures and investigative mandates to be followed in situations such as | presented that were
blatantly ignored.

| also know that the reason that my batterer was given special treatment and that | was thrown

under the bus is that ADA Strohbehn and her “Crew Cut” team needed his assistance in making major

cases against gangs In Harlem. My batterer was shot in front of the 28" precinct by an armed

assailant who had been attempting to rob his weed spoton w 120 st. in December of 2040. That
shooter turned out to be a young teen member of a mid-Harlem Gang centered araund 137" st. He :
was appretiended and charged with attempted murder. Strchbehn and her team needed my batterer

to cooperate with their investigation to his gang ties. Following, as | had been actively trying to

make complaints against him for his violent abuse the only alternative Strohbehn had if she wanted

to keep her case alive and turn the shooter into an informant by offering him a lower plea in

exchange for intel about his gang was to paint me as a fabricator in order to deny me police services

and protections in order to protect my batterer and keep him cooperating.

This scheme is not only highly illegal but if left unchecked is a TEMPLATE for future prosecutors and

police to utilize in similar situations. | know you don’t wish far part of your legacy with the NYPD to

be that of creating a cookie-cutter template for re-vietimizing women already horribly victimized and
abused. ] know the person you are and all the things you did to try to help me and | need your help

Lt. Larocca. Please reach out to me ASAP. I need semeane from the precinct to aver that Strohbehn

instructed the 28'* precinct/NYPD not to respond to my complaints or take me seriously and to jabel

me as “crazy” alternatively. This action was blatantly against my Constitutional Rights to equal

protection under the law, not to be illegally searched and seized, not to be unusually punished, et al.

I know this much and so do you. My case is VERY strong but | need this piece from you Lt. Please
reach out to discuss what you can do to help. I've come a VERY Jong way in rebuilding my Jife since |
last saw you in late 2012/early 2013 (1 HAVE TAKEN THE LSAT AND AM APPLYIN TO LAW SCHOOL
THIS FALL SO] CAN SPEND MY LIFE HELPING OTHER VICTIMS WHOSE LIVES HAVE BEEN FELLED
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BY SECONDARY VICTIMIZATION) but my life is still very very different from the way it was before
my batterer. | need you to help me bridge the gap between whol was and who [am now. Please Lt;
Inv begging you not to ignore me. Prosecutors should not be allowed to over-rule the judgment of
experienced Police in the name of case-building (and career-building tool).

Lastly, remember please that | am a survivor of 9/11 and that I deserve to live a life
in NYC free from continuous retribution from Jaw enforcement and denial of
services. | deserve to be protected and to feel safe here. lama FOURTH
GENERATION daughter of the city of New York and no little mewling ingénue
imported for service by the MDAO from Maryland whe has NOT a CLUE about the
intricacies of city living and the special mysteries of Harlem has the right to take this
away from me. Strohbehn already has taken everything from me: my reputation,
my career, my unborn child, my sense of place and pride in the world, my friends
and family. Please don’t let her have the last word Lt. Larocca: pretty please'l know
you can help me.

Humbly,
Kelly
 

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Magazine
Cyrus Vance Jr.’s ‘Moneyball’ Approach
to Crime

By CHIP BROWNDEC. 3, 2014
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Cyrus Vance Jr. Credit Lee Friedlander for Tne New York Times
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A glance at New York City rime statistics might lead_you to conclude that Cyrus Vance Jr., the district
attorney of New York County, 10 longer works in what William Travers Jerome, who held the job more
than a century ago, once cailed “the nrouth of bell.” Nowhere have declining crime trends been more
striking than it Manhattan, where last year burglaries, shootings and murders were the lowest since the city
began keeping formal records in the early 1960s; so far this year, statistically speaking, the epidemic of
civility rages on. It’s still a shock — where did Gotham go, the dangerous dark of nighttime Central Park,
the East Village addicts brandishing box cutters, the cardsharps and sallow denizens of Times Square,
which now seems overrun by Elmo impersonators and wide-eyed naifs in fanny packs?

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Vance Is Winner in Primary Vote to Replace
MorgenthauSEPT. 15, 2009

Vance is the fourth elected district attomey in 75 years to head what has been hailed as the model ministry
of criminal justice since the arrival in 1935 of Thomas E. Dewey, who made a naime for himself as the
Gangbuster and established the office’s tradition of nonpartisan professionalism. He was succeeded by
Frank S. Hogan, Mr. Integrity, who served for 32 years and stepped aside in December 1973, just three
months before his death. After a special election, Robert M. Morgenthau, a former federal prosecutor from
the Southern District of New York, began his 35-year reign. At the time, Morgenthau recalled recently,
crime was “endangering the economic and social viability of the city.” He added dozens of detectives to the
staff, boosted salaries and hired accountants to tackle white-collar crime. One of his major innovations was
to “vertically integrate” prosecutions so that one assistant D.A. handled a case from arraignment to trial.
There were 648 murders in Manhattan in the first year of Morgenthau’s tenure; in 2009, when he retired,
there were 59.

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‘The question | had when 1 came in was, Do we sit on our hands waiting for crime to tick up, or can we do
something to drive crime lower?’

Campaigning on the themes of enhancing safety and fairness, and lifted by Morgenthau’s endorsement,
Vance won a three-way primary race for the D.A.'s office in 2009 and then carried the general clection. In
November 2013, he was re-elected with only token opposition, With violent crime at historic lows since its
peak in the early 1990s, you might think being D.A. today is an aftemvon nap compared with when Dewey
was tilting at municipal corruption and trying gangsters like Lucky Luciano; or when Hogan was caurting
controversy with prosecutions of Lenny Bruce and antiwar demonstrators at Columbia University; ar when
Morgenthau was running the show with civil society hanging by a thread.
And-to be suresat the sturt-of ‘pis: Second-term: in Januaryy-Vance-was stilLintent on. answering the questions =i
he confronted when he first sought the job of overseeing 535 lawyers in the mouth of hell (which even with
the recent renovations is still suffused with the purgatorial gloom of Manhattan’s massive Criminal Courts
Building, where most of the offices of the D.A. are housed and where a power failure caused by a hurricane
can produce a Dickensian tableau of prosecutors handwriting charging documents by candledi ght). {n an era
of low crime, what was the job of the D.A.? Who was to say the city couldn’t be any safer, or what anti-
crime ideas and utopian dreams were too far-fetched to pursue?

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In 2010, at the start of his first term, Vance drew up a list of 20 things te do; four years later he had
checked then all off, except for learning Spanish. He helped create a new cour that offered alternatives to
prison for mentally ill defendants whose crimes might have stemmed from treatable conditions. Hesel up a
“conviction integrity program,” which reviewed innocence claims in more than 160 cases and vacated fou
convictions. He pushed to raise the age of criminal responsibility to 18 — New York and North Carolina
are the only states that treat 16-year-olds as adults. He lobbied for the New York's All Crimes DNA law,
which doubled the kinds of crimes for which DNA evidence could be collected. He focused an crimes
where the numbers in New York were going the wrong Way: computer fraud, identity thefi, abuse of the
elderly and demestic violence. He reorganized office units and bureaus and shaved nine hours off the time
between arrest and arraignment, freeing up cops who used to hnve to wait so long to give statements that
they would sometimes bring lawn chairs to the intake area in order to have a place to sit, Drunken-driving
dismissals, according to the D.A.'s office, were down 81] percent, cases tossed because prosecutors violated
speedy-trial rules were down 91 percent. Felony conviction rates, which were lower in Manhattan in 2009
than in the other four boroughs, now trailed only the conviction rate in Queens.

But Vance’s most significant initiative, one that has been emulated in jurisdictions from Brooklyn to San
Francisco, has been to transform, through the use of data, the way district attorneys fight crime “The
question | had when | came im was, Do we sit on our hands waiting for crinie to tick vip, oF can Wwe do
something to drive crime lower?” Vance told me one afternoon in his eighth-floor office at the Criminal
Courts Building in Lower Manhattan. “I wanted to dévelop what | call intelligence-driven prosecution.”

 
 

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Preparing to run in 2009, Vance studied “community-based prosecution” pregrams in Washington and
consulted with experts in Milwaukee and San Francisco. The concept of expanding prosecution strategies
ww address neighborhood concerns emerged in the carly 1990s as prosecutors and police departments
srappled with an epidemic of violence, drug abuse and “quality of life” issues. Inspired by “broken
windows” policing strategies advocated by William J. Bratton, who at the time was head of the city’s
transit cops and is now the New York City police commissioner, D.A.s began fo prosecute offenses once
considered small potatoes, The iconic example in New York was the campaign against the “squeegee men”
cleaning car windshields when drivers were trapped in traffic.

The community focus was effective as far as it went, but there had been a revolution in the use of data over

the last 20 years in areas as disparate as retailing, baseball and, in the prime example of the N.-Y.P.D.'s

CompStat program, policing; Vance thought prosecutors should yet inon it, He sat down with a

whiteboard, a cup of coffee and one of his first hires, an imaginative, dark-haired lawyer named Chauncey

Parker, 54, who started his career under Morgenthau, spent a decade asa United States attorney and now,

4g Vance’s executive assistant D.A. for critne-prevention strategies, had the job of dreaming up ideas, no

matter how outlandish, that might reduce crime. It was glaringly evident to both men that assistant D.A.8

fielding the 105,000-plus cases a year in Manhattan seldom had enough information to make nuanced

decisions about bail, charges, pleas or sentences. They were narrowly focused on the facts of cases In front

of them, not on the people committing the crimes. They couldn’! quickly sort minor delinquents ftom

irredeemably bad apples. They didn’t know what havoc defendants might be wreaking in other boroughs.

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By May 2010, Parker and Vance had roughed out the structure of the so-called Crime Strategies Unit

(C.8.U.), They divided Manhattan’s 22 police precincts into five areas and assigned a senior assistant D.A,
and an analyst to map the crime in each area. C.S.U. staff members met with patrol officers, detectives and 1
Police Department field intelligence officers. They asked police commanders to submit a list of cach |
precinet’s 25 worst offenders —~ so-called crime drivers, whose “incapacitation by the criminal-justice

———“uystem woilld have @ positive impact on the community's Sater.” Seeded with these nitcocsstte ee

C:3.U. built a searchable database that now includes more than 9,006 chronic off fenders, virtually all of
whom have criminal records. A large percentage are recidivists who have been repeatedly convicted of
grand larceny, one of the top index crimes in Manhattan, but the list also includes active gang members,
peaple whom the D.A. considers “uncooperative witnesses,” and a fluctuating number of violent “priority
targets,” which currently stands at 81.

But assembling data was meaningless without a timely way of distributing it. In-house software
programmers made key refinements to what is now considered the nerve center of the office, the Arrest
Alert System. When someone in ihe Artest Alert System is picked up, even ona minor charge or a parole
violation, or is arrested in another borough, any interested prosecutor is automatically pinged witha
detailed email. People outside the D.A.'s office like parole officers or police intelligence officers are often
notified, too. The database can be programmed to send arrest alerts for a particular defendant, a particular
gang, a particular neighborhood or housing project. and can be sorted to highlight patterns of crime from
bike theft to hamicide.

“These are people we want to know about if they ave arrested,” says Kerry Chicon, who started as the
Crime Strategies Unit prosecutor in Area 3 and was promoted to C.S.U. chiefin January. “We are
constantly adding, deleting, editing and updating the intelligence in the Arrest Alert System. If someone
gets out of a gang, or goes (0 prison for a long time, or moves oul of the cily or the state, or ages out of
being a focus for us, er cies, we edit the sysiem accordingly — we do that all the time.”

Chicon, a 43-year-old mother of four, usually starts her merning reviewing the night's haul of 30 to 35
arrest alert emails as she drops her Kids off ai school. “C_S.L. prosecutors don’t have to try cases — our job
is to help assistant district attomeys understand whom they are prosecuting,” she says. “Every morning, |
talk to my five A,D.A.s, who are experts in their areas, We decide whom we should try to pull aut fora
debriefing. We don’t debrief peaple arrested for felutties because we don’t want to compromise a Case, We
pull people arrested on low-level misdemeanar charges, maybe two or three 4 week. We read them their
Miranda rights. About 80 percent of them will talk. If you speak to a 16-year-old, they might tell you, “This
kid is running things, this kid ts a hanger-on.’ That's haw we find out information like whether a gang has
changed their name. We took down the Flow Boyz gang at tie Robert FL Wagner housing project in 2012.
But s lot of these gang members have aged out, and now there's a new group of 14- and 15-year-olds who
want their own set name. Through debriefings, we learned they call themselves Gnly the Waster”
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The Arrest Alert System was the first of four programs created or tweaked by the C.S.U. using a
combination of in-house technology and commercial software. The DANY (the District Attorney of New
York) InPho program analyzes recorded inmate phone cals from Rikers Island. SCIM (the Surveillance
Camera Interactive Map) shows the locations of and contact information for some 6,000 pubtic and private
surveillance cameras in Manhattan, making it possible for prosecutors to know whoin to cal] at the 109th
Street and Madison Avenue Dunkin’ Donuts if they want to see what was recorded on the camera behind
the cash register.

CSU. “violence timelines” reveal patterns around certain housing developments and neighborhoods,
including shooting incidents that didn’t generate @ police report but that prosecutors were able to
substantiate through debriefings or reports on social media, Probably the most comprehensive database is
the Crime Prevention System, which targets violent crimes and gathers on one spreadsheet the sort of
information that used to be scattered on legal pads or parked in some retired detective's head — details
about a defendant, including nicknames, which can be linked to additional information: friends, tattoos,
telltale scars, Facebook entries, geo-caded street addresses, debriefing tips, excerpts from jailhouse phone

calls,
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Cyrus Vance Jr. (a future Manhattan district attorney) and Sr. (a future secretary of
state). Credit Photograph from the Vance Family

“Is the ‘Moneyball’ approach to crime,” Parker told me. “The tool is data; the benefit, public safely and
justice — whom are we going fo put in jail? If you have 10 guys dealing drugs, which one do you focus on?
[he assistant district attorneys know the rap sheets, they have the police statements like before, but ow
they know if you lift the lett sleeve you’ll find a gang tattoo and if you look you'll see a scar where the
defendant was once shot in the ankle. Some of the defendants are often surprised we know so much aboui
them.

In speeches praising intelligence-driven prosecution, Vance often cites the case of a 270-paund scam artist
named Naim Jabbar, wha for more than a decade made a living in the Times Square area bumping into
pedesirians and then demanding money, saying they had broken his glasses. Convicted 19 times on the
misdemeanor charge of “fraudulent accosting,” Jabbar never served more tivan five months in jail until he
was flagged by the C.S.U_ His next arrest, in July 2010, triggered an alert. Instead of being offered a plea
bargain, he was indicted and subsequently convicted on a felony robbery charge, and sentenced to three and
a halfto seven years in prison. With lime served befare his conviction, he was soon paroled and then
arrested again, in July 2014, for another broken-eyeglusses incident and charged with robbery and grand
larceny.
 

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More broadly, working with the Police Department and folfowing a plan based on information developed

by the C.S.U,, the Violent Criminal Enterprises Unit, which Vance created in his first term, began taking

down the niost violent of Manivattin’s roughly 30 gangs; since 2011, 17 gangs have been dismantled,

including three broken up last June at the Manhettan ville and Grant housing projects, resulting in the

largest number of gang indictments ina single operation, “There's a reason murders in Manhattan went

from 70 in 2010 to 29 so far this year,” Karen Friedman Agnifilo, former chief of the Trial Division, told

me fate last year, (in January, Vance promoted Friedman Agnitilo to the No. 2 job, chief assistant district

attorney.) “We figured out who are the people driving crime in Mantiattan, and for four years we focused

on taking them out.”

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One evening shorily before Vance won his second term, | locked the only bicycle 1 haven’t had stolen in

New York to a No Parking sign in front of a restaurant in the East Village and lugged the frent wheel

inside, where Vance was nursing a club soda at the bar. “Youre afraid of being robbed while having dinner

with the district atlorney?” he said,.“That’s an insult to mel”

Vance, now 60, is said to be funny in private, but as the white hat of moral order in Manhattan, be makes

no apologies for his public persona, which is earnest, thoughtful, buttoned up and not unduly colorful. Not

really colorful at all, in fact. He has a halting speaking style and the subdued manner of a man constrained

by temperament, training and the peculiar fetters of his public duty.

“] would be more interesting to the newspapers if | showed up at crime scenes in wyellow coat barking

orders into a two-way wrist watch,” Vance told me. “But that’s not me.”

Vance was bom in New York, the youngest of five siblings. His mother, Grace Sloane, who vas called
Gay, grew up dressing for black-tie dinners on the Philadelphia Main Line in the socially prom inent family
that founded the W. & J. Sloane furniture business. His father, Cyrus Roberts Vance, was born in West
Virginia, where the idyll of his childhood ended at 5 when his father died of pneumonia. Vance’s parents |

— _ were both public-minded. His mother served as president of the New York Urban League. His father, after :
Yale; Yale Fa’ AW 'Schoor and astine in te Nayy; shorted froma partnership-atethe-prestigi ots bay FRE)

Simpson Thacher & Bartlett to various posts under three United States presidents and emerged as an icon
of the Eastern establishment — a lawyer-counselor-diplomat who, after three years as secretary of state,
resigned without fanfare in 1980 when President Jimmy Carter, against Vanee’s advice, authorized the ill-
fated attempt to rescue the American hostages in Tehran.

Cy Vance Jr. grew up among the elite of Washington after the family moved to the capital from the Upper
East Side in 1960. His father took him fishing at Camp David. He spent the night at the White Honse andl
met President Lyndon B. johnson when he was 12. He followed his father to Yale, where he studied
American history. Determined not to becoine a lawyer, he peddle oll-marketing services in West Africa.
He wasn’t very good at it, and after five years he reconciled himself to his father’s profession, enrolling al
the Georgetown University Law Center. He graduated in 1982. shortly before his 28th birthday. Robert M.
Morgenthau liked to say he had one rule — “never do a politician a favor — but he hired his share of
celebrity lawyers’ sons, and Vance landed a coveted assistant D.A. position, He was assigned to Trial
Bureau 80, where the halls were piled with cardboard boxes and the blue carpet underfoot was so
memorably gross that Vance was given 4 framed swatel of it as a keepsake when it was finally replaced.
“That time was the wild west,” recalled Jeffrey Schlanger. Vance’s chief of staff, who got to be fends
with him when they worked together in the Rackets Bureau “The crack epidemic was going, Arraigninents
had a feeling of controlled chaos. 1 remember one mentally ill defendant pulling feces out of his pants.
Every day was a scramble. We were learning things they didn't teach in jaw school,”

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Trials were what appealed to Vance —- the strategies, the characters, the dranva of verdicts, the satisfaction
of knowing his work mattered. He handled cases from murder to wit theft 10 animal eruelty and made
friends with people you don't normally see at Yale reunions. He loved getting up in the middle of the night
to inspect crime scenes with detectives trom the robbery squad. “We focused on pattern robberies.” he
recalled, “like the guys who specialized in sholgun stickups of Héagen-Dazs stores.”

After six years, Vance was ready to get out from under the shadew of his father’s fume, Against the advice
of his dad, who said he was “waving the white flag” on his career, he found a job as an associate at Culp
Dwyer Ginerson & Grader in Seattle, where he moved with his wife. Peegy McDonnell, whom he'd
 

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married in 1984. He proved adept at white-collar criminal defense work, eventually made partner and then
seven years later leit to start his own firm. “He was the criminal Jawyer in Seattle,” recalled Robert Sulkin,
a founding member of McNaul Ebel Nawrot Helgren & Vance. “When you got into trouble, you called Cy
Vance.”
Vance handled most of the firm's criminal work, taking cases that political opponents would later try to use
against him, like his defense of Joseph Meling, an insurance salesman convicted of killing two people in an
attempt to cover his tracks afler trying to poison his wife with cyanide-laced Sudafed. Years at the defense
table underlined for Vance some of the prosecutor’s powers. “The philosophy ] have about law
enforcement — enhancing public safety while enhancing fairness — didn’t come from my father, and it
didn’t come from reading or professors in law school,” Vance said. "Il cane from years of practical
experience as a prosectitor and a defense attorney.”
On trips back East, Vance would call on Morgenthau, In January 2002, his father died after a long decline.
Two years later, with their children, Simon and Clare, on the brink of high school, and Vance’s m other and
his sister Amy debilitated by illness, Peggy thought it was time to come home. With the help of
Morgenthau and Eliot Spitzer, then the New York State attorney general, whom Vance met in the Rackets
Bureau, Vance landed a job in New York as 4 partner at a boutique white-collar firm, Morville
Abramowitz, He had been back in the city a year or so when he confided to his wife that he was thinking of
running for Manhattan district attorney if Morgenthan retired, His political résumé at the time consisted of.
passing out fliers for Lyndon Jolmson and a couple of days of advance work for Gary Hart’s unsuccess ful
presidential bid in 1984.
onitinue reading the main stor’
‘We figured out who are the people driving crime in Manhattan, and for four years we focused on taking
them out.’ |
So numerous were the stumbles in Vance’s first term that for a while it looked as if he might not have the i
luxury of asecond. At one point the Data D.A. had a far more formidable reputation on the Facebook pages I
of East Harlem gangs than he did in the New York press. The New York Post labeled him, “Soft Cy,” \

     

~—“tVanhattan's hapless district “attorney” who learned to fight crime iit the “Espresso bars Of Seater : = MG
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“Cy’s first |§ months in office were so bruising that having no opposition for re-election was something |
never expected even a year ago,” says Linda Fairstein, a former Manhattan sex-crimes prosecutor and
Vance adviser. The nadir of his rookie woes came in August 2011, when the sex-crimes prosecution of the
French politician Dominique Strauss-Kahn collapsed. It's hard to imagine Vance will ever again find
himself in a maelstrom like the drama of Strauss-Kahn and the Sofitel housekeeper Nafissatou Diallo: 19
New York Post cover stories; writhing news-media scrums outside the Criminal Courts Building; armchair
prosecutors dissecting how the green D.A. and his mismanaged minions were in over their heads. Kenneth
Thompson, wha at the lime was the attorney for Diallo and now Is the district attorney in Brooklyn, tore
into Vanee in front of TV cameras: “If the Manhattan district attorney, whe is elected to protect our
mothers, our daughters, our sisters, our wives and our loved ones, is not going to stand up for them when
they've raped or sextially assaulted, who will? (Many months later, when Thompson was preparing lo run
for public office himsei!, Vance says Thompson privately apologized, Thompson says that he did call to
say he shouldn't have said Vance was afraid to try the case, but that that didn’t constitute an apology.)
Lasked Vance what he would do differently if he could replay those tumultuous weeks. “I probably would
handle it exactly the same way,” he said after a long pause.

Nothing different?

“1 would like to have had the time the federal government has between arraignment and indictment. By law
we have six days. Federal prosecutors have 30, That forced everybody to make rapid decisions. Bul | think
al every stage we made the best decisions we could.”

Even Vance’s wife, Pegoy, who had joined us for dinner, wondered if he wouldn't change his approach.

“T would probably move more slowly if f had to da it again,” he conceded, “But what went nght in DSK —
although others might not see it this way — is that when we assessed the information we had that
undermined the case, we didn’t hide it. | look at the DSK case as a paragon, because we absolutely believed
this poor woman should be believed over this powerful man, and when additional facts came out, we were
wilting to show them to the defense.”
 

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Vance critics have generally been focused on less sensational issues, questions of policy and priorities for
which they find the D.A.'s leadership wanting. Did the Manhattan D.A., they ask, really need to set up a
two-year study with the Vera Institute of Justice to realize the criminal-justice system was plagued by racial

bias? And in light of its entrenched inequities, aren’t databases und targeted intelligence-based prosecution
especially problematic?

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ps qm

December 6, 2014

kudos cy vance, it's not the change in the economic make up of manhattan that has brought crime down, the
rich don't move into rough...

EMJ
December 6, 2014

the only reason Vance's office had to indict DSK in six days was that it would not consent to release him on
bail (which happened later). ...

EuroAm

December 5, 2014
Perfection: An admirable yet uncbtainable goal...
« See Al] Comments
“When prosecutors begin to compile databases and start doing so-called ‘smart prosecutions,” you have to
ask who is getting in the databases, what are the criteria and where are the outside checks?” says Steven

Zeidman, director of the criminal-defense clinic at the CUNY School of Law. “More than a thousand

 

people are arresied in N.Y.C, ‘each day, and the overwhelming and disproportionate number oP then are” ~
peaple of color arrested for “broken wi ndews’ type offenses like riding a bike on the sidewalk or
jaywalking, | was in court with a kid arrested for jaywalking; the arresting officer was from the gang unit,
and he stopped the kid because he was wearing a red shirt that, according to the police, happened to be a
vang color. He wasn’t in a gang, but he’s probably now in a database.”

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Vance has also been criticized for shrinking from leadership on the issue of marijuana arrests in the city. In
recent years, tens of thousands of New Yorkers — n vast majority of them biacks and Hispanics — have
been arrested for small amounts of marijuana after being searched under the Police Department's now-
sealed-back stop-and-frisk policy. Marijuana offenses were the top arrest category for the entire program in
2012, according to a study by the New York chapter ofthe American Civil Liberties Union. Vance has Jong
supported reforming the penal code to weat smal] amounts of pot “in public vicw" as a violation resulting in
a fine rather than a misdemeanor, which might lead to a jail sentence and a criminal record. But his office
has declined to prosecute just under 7 percent of the $4,000 misdemeanor pot arrests in Manhattan since
2009, and it was Vance’s old antagonist, the Brooklyn district attorney Kenneth Thompson, who declared
his office would no longer prosecute such cases.

Vance’s efforts to make prosecutors smarter — “to play offense instead of defense.” as he has said —
depend on whal he calls “extreme collaboration” with the Police Department, cooperation that has
increased netably since the arrival in January of William Bratton as palice commissioner. Prosecutors say
they now have access to precinct-level commanders they almost never had before. The complicated anti-
gang cases mounted in Manhattan — like the one at the Manhattanville and Grant housing projects last
June, which resulted in 103 arrests — were built by teams from the D.A.’s office working hand in glove
with the investigators trom the police and the city’s Depariment af Correction. But critics argue that in
doing so, prosecutors risk becoming extensions of the police force,

“Prosecutors are supposed to be the gatekeepers to the criminal-justice system,” Zeidman told me. “They
should maintain a healthy distance from the police so they can evaluate the canstitutionality and
appropriateness of what the police are doing. If they had been fwiilling that function all along, we might
 

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never have had scandals like the rampant Fourth Amendment violations uncovered in the federal stop-and-
frisk litigation.”

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“When prosecutors begin to compile databases and start doing so-called ‘*smart prosecutions,”* you have to
ask who is getting in the databases, what are the criteria and where are the outside checks?”

It’s hard to know how much one person or policy can affect the etime rate, and consequently how much
credit or blame should be assigned when things go well or don’t. Evaluations of anti-crime measures often
conflate cause and correlation, The sun comes up, the roosters preci, Raymond Kelly, the former New
York City police commissioner, once said that taking credit for a decline in crime is like taking credit for
an eclipse, but he, too, was quick to attribute auspicious trends to his department's strategies and tactics.
The N.Y.P.D.'s seminal crime-mapping methodology CompStat surely made cops more effective and
helped reduce crime, and yet crime began its epic decline in 1990, four years before CompStat was
implemented, For years Kelly and former Mayor Michael Bloomberg insisted the city’s stop-and-frisk
preeram was the key — but then, as opponents asked, why did crime continue to go down even when stop- ;
and-frisk was curtailed by public pressure in 2012?

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Apart from effective police work, studies have attributed the decline in violent crime to @ confounding hash

of variables: demographic trends, fashions in drug abuse, a surge in public-housing programs, the

proliferation of surveillance cameras, decreases in lead toxicity, increased Incarceration rates (and

paradoxically in recent years, increased prison discharge rates), even the availability of abortion,

Morgenthau credits the pivotal role of the district attorney, noting Manhattan had 39 percent of the city’s

homigides when he took office and only 12 percent in the year before he finished — evidence to him of the

difference a D.A. makes given that the city’s boroughs all have the same police force. In his final report, he

tartly observed that the 90 percent decline in murders in Manhattan during bis tenure was “not due simply

to.the dawn of gentler times,” _ — =" ; a

But of course gentler times were something to hope for and to cultivate if possible. Vanee pressed the poimt
to his staff: Their pole star wasn’t convictions but safety, a goal as readily attained by preventing crime as
by prosecuting it. With asset-forfeiture money seized trom drug dealers, Vance has opened 10 Manhattan
gyms that would otherwise be closed on weekends and started sports programs for | 1-to-18-year-olds
called Saturday Night Lights. ‘he community-affairs unit hired professional sports trainers to run drills and
academic advocates to work as tutors and mentors and to keep track of how the players are faring in school.
“We ask ourselves, Are we doing everything possibie to reduce crime?” Chauncey Parker says, “If an
overwhelming number of Rikers Island inmates don’t have high-schaal diplomas, maybe we should be
finding ways to help people stay in school and graduate. It seems obvious, but it’s not until someone starts
doing it.”

Parker challenged C.S.U. prosectitors to come up with their equivalent of the Apollo moon project. Their
answer was reforming public housing in the city, inchiding the Polo Grounds, St. Nicholas and Wagner
developments, aid they are drawing up plans with the expectation that they can drive down erlme.

A number of other cities and states arc studying how the Manhattan D.A. has developed and deployed data.
Ata February 2013 conference in Miami, Kerry Chicon and David O’ Keefe, then the C.S.U. chief,
received numerous requests for meetings affer their presentation on the Arrest Alert System. Philadetphia
now has a rudimentary intelligence system modeled on Manhattan’s C.S.U. So does the Delaware
Departinent of Justice. “The Manhattan C.S.U. prasecutors spent a day with us, going over intelligence-
driven models and how they analyzed cases,” says Kathleen M. Jennings, the state prosecutor and head of
the criminal division. “We developed an arrest-alert system that identified 50 high-risk offenders. In May
we created our crine-strategies unit. Wilmington has one of the highest vinleni-crime rates in the country,
but | to 2 percent of the people are doing 70 percent of the crimes, We've taken dozens of high-risk
offenders off the street.”

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When he took office in 2011, District Attorney George Gascon of San Francisco was shocked by the
paucity of data-informing prosecutions. “It wasn't even a bel! that was being rung,” says his chief of staff,

 

 

 

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Cristine Soto DeBerry. “We spent a day in Manhattan jearning the ropes of how they used data, and Kerry
Chicon caine and spoke to our board of supervisors. It’s very clear to our D.A. that we are
overincarcerating, and we need to do something different, Jail is not an economically sustainable model.
We need to know for whom jail is appropriate and whom it isn’t. That’s where data becomes very useful.”
In some ways it may be easier to be the district attorney of Manhattan in an era when New Yorkers aren't
so inclined to do terrible things to one another. And yet the Manhattan D.A.'s office still handles more cases
than the entire United States Department of Justice. Vanee's predecessors didn’t have to cope with the
terabytes of digital evidence now central to many prosecutions, or with malign enterprises particular to our
time, like cybercrime (20U to 300 complaints a month in Manhattan alone) and lone-wolf terrorism.

Vance was especially frustrated that his office had been unable ta stem the upsurge in domestic violence.
While the index felonies were going down, misdemeanor arrests in Manhattan were going up. And arrests
for grand Jarceny, many of which involved iPads and iPhones, were runing counter to the positive crime
trends.

“| don’t want to be known as the D.A. whose main mission was reducing property crime, but it is important
we excel even in these kind of cases,” Vance said. “The bar Bob Morgenthau set when he left was very
high. It's my job to raise it.”

tt was almost midnight, and he was sitting ina pub in Chelsea reflecting on his first four years on the job.
The supporters who helped him secure another term had gone home. “So,” asked his wife, Peggy, “what
three things have you learned about yourself?” Vance gazed at her evenly, well aware of the perils of
domestic cross-examination. “You just have to be honest,” she said.

“]°m thinking.” he said, looking, fora moment, as if he would rather be coping with the recent outbreak of
mold at their country house.

“Cyrus has always been a question to himself,’ Peggy said to me. “The things that should make him happy
didn’t make him happy. He’s never had the ability to separate himself from his work.”

Jimmy Zaccari, a detective on Vance’s protection detail, was waiting outside in a black Suburban to drive
the couple home. It was a quiet night, except for the cry of far-off sirens, Changed as it might be,
—— = saniiatranr was stilt the piace where Jose Pimentel-plotted-to-terrerize New Yerkers bydelonating pipe = = —4
bombs, and Corey Dunton stands accused of firing a gun at skaters in Bryant Park, and Cesar Lucas raped a
woman on the West Side. It was still the place where, among thousands of nonviolent but still disgraceful
affronts to the civility of city life, Dr. Lawrence Levitan stole insurance money from a hospital and Naim
Jabbar wrung cash from people for eyeglasses they didn’t break. It was still the place where even a Times
Square Elmo impersonator had been jailed for harassment and extortion, Gentler times in Manhatian?
Maybe someday — but not tonight. Sirens in the night meant cases in the morning.

Correction: December 7, 2014

An article on Page 22 this weekend about Cyrus Vance Jr., the district attomey of New York County,
describes incompletely a shooting incident at the Bryant Park ice rink in November 2013 and misspells the
given name of a man charged with shooting skaters. He is Corey Dunton, not Cory, and he has pleaded not
guilty and is awaiting tals i bas not been established that be “fired a gun at skaters.” In addition, the
article misstates the length of time that Robert M. Morgenthau served as district attorney of New York
County. It was 35 years, not 34,

 

 
 

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io Vaeterte

Adam Gargani
To Whom Rk May Concent:
This reviews a phone conversation | had wath the New York Citys Lista -
Attorney's Office. |
On February 2 of 2011 | received a voicemail message from Maria Strohbhen :
stating she wes from the District Anomey’s Office and was calling as part of a
matter she was handling with one of my tenants. and requested a return call, !
wdhich } id.
The matter involved Kelly Price who was my tenant at that ime at 237 West
too” sueet, #1 New-York, NY 10027 from July of 2007 to August of 2013.

Mes Sirohbnen had several questions to ask me conceming events that had —
taken place at the building Specifically these involved incidents where the police

had been called and other events thal involved allercanors berween Ms. Price
anda man

 

Kgs Strohbhen asked me about my Lnowladge of these events In bath the
structure of the questions and the milecton with which these were asked, il was
apparent that the purpose was lo questOn whether these events happened, and
as it was directly communicated. to question whether Kis Price had been telling
the truth, which she posed was jot the case.

iuintarmed Miss Stronbhen that was aware a sesues BhINg place By rapons

from my other Lenants as well as conversations with Vs Poce | told Mss

Strohbhen thai although | did not have any direct knowledge of what look place

since | did not live at the building. and was not present when hey occurred, | also |
had no reason to question the veracity of emher the reports trom my ather tenants
me tas. Price

| would characterize tie reaction at Wiss Strohbhen to my responses as
frustraied or annoyed.

She indicated that she was dealing with Ms. Price and was looking to assemble
intermation that refuted claims that Hs. Price had made uhe suggested that Ms.
Price had been making false satements | told Miss Sronbhen that} although |
 

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could nex comment on any spect event on tie basis of ctner tan what | hac
been told, that in my dealings with Me. Price as a tenant in general | had no
reason to presume that her daims. or the reports-af my other tenants, were fess
than (he truth.

 

The names ot nthee tenants or neighbors were not requested

Miss Strohbhen gave me the impression she was less than satistied with the: |
outcome of her call and ended it abruptly

Sincerely,

   

Ada
ndlord and Owner of 237 West 120" Sureet, NY NY 10027

EVergreen 9- Corporation
267 Carleton Avenues
Saute 202

Centra} Islip. NY 11722

 

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Elizabeth Walker
235 West 120th Street Apt 2
New York, NY 10027

(917) 575-9600

April 22, 2014
To Whom It May Concern:

L was one of Kelly Price’s neighbors when she lived at 237 West 120th Street. I have
lived at 235 West 120th Street for five years. [ am an attorney and have been a member
of the New York State Bar for over seven years.

During the course of our relationship as neighbors and eventually as friends, Kelly shared
with me the trouble she had obtaining police assistance from members of the 28th
Precinct on multiple occasions when she had been attacked by people in our
neighborhood, including het ex intimate partner, Raheem Powell. I did not witness the |
events or attacks Kelly described to me, but throughout 2011 and 2012 she would cry and
talk to me whenever she was assaulted. Kelly believed the women who assaulted her
were associated with either her ex, his alleged drug dealing associates or his childhood
cronies. Kelly was particularly dismayed that the police refused to take her reports,
follow up onassaults against her person, or regard her as a member of society needing

___—.._.- protection in-genetal._She-told.me-that officers inthe precinct told her that the district =
attorney’s office had instructed them not to assist her.‘ Candidly, I did not entirely believe
that the police would refuse Kelly, and 1 suspected, that she was omitting some dispositive
reason why the police were reluctant to intervenc on her behalf against her various
alleged attackers.

On the evening of October 18, 2012, Kelly called me crying and asking for my help. I
observed her distraught and injured after she said she had been assaulted in broad
daylight on the comer of our block, at 120th Street and St. Nicholas Avenue, at
approximately 5:30 p.m. while she was en route fo her home from the 125th Street
subway. I observed that she was disheveled, her stockings were torn and her knees and
hands weré bruised and bloodied. Kelly was nearly hysterical, and I had to calm her
down and give her medical assistance. Kelly related that a purported heroin dealer
named Willy whe was known to many residents in the neighborhood (he purportedly
operated his business from a visible stoop on Saint Nicholas Avenue) had “jumped” her
and hit her in the face, spit at her and pushed her onto the sidewalk, all the while
screaming insults at her. 1 do not recall what Kelly said she said to him before or after
the attack, but 1 do recall that she said she did not provoke him or retaliate against him
physically. I took pictures of Kelly and her wounds, and encouraged her to call 911 for
assistance in reporting the crime. Kelly stated that she already had called the 28th
Precinct and that a patrol car had been sent to the scene of the assault. Kelly said that
when the officers arrived they refused to take her report and called her crazy. Kelly also
stated that she had then walked to the precinct, three blocks away, for help and had been
rebuffed by the desk sergeant, who Kelly said ridiculed and mocked her.
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Notwithstanding her story that she had sou ght police intervention earlier that day, I
insisted that she call 911 again and report the chain of events. She complied.

Eventually another patrol car artived in front of our building. Two police officers, whom
Kelly has since reminded me were named P.O. Longo (shield #31565) and P.O. Walker,
related to us that they were instructed by the station’s desk sergeant not to take Kelly’s
reports. P.O. Walker stated that the District Atlorney’s office had instructed the precinct
not to respond to any of Kelly's calls. I recall being genuinely shocked and outraged to
hear this instruction, and further surprised that a young woman, like P.O. Walker, would
be tasked by her superiors with being complicit in a practices that left a domestic
violence victim without recourse for protection. At this juncture, I introduced myself as
an officer of the court and member of the NY State Bar, and reminded the officers of
their legal and ethical responsibilities to provide complainants with police services. I
recall that the officers responded more favorably to me than they did to Kelly, but I could
not discern whether this was the case because I notified them that I am an attorney, or
because I'm just someone other than Kelly Price. P.O. Walker stated that she would take
basic information about the incident, but she believed that once the precinct began to
process the event, it most likely would be “circular-filed” in the trash bin. P.O. Longo
gave Kelly an incident ID slip and told her to follow up with the precinct in a few days,
then both officers left. 1 was then, and remain, dumbfounded by what I witnessed
transpire that evening.

pg asingle young: woman living and-working in NYC, it unsettled me that the Police. ee

 

could be so cavalier about Kelly Price’s safety. Kelly has since told me that the
complaint number she was given months later when she inquired as to why no one had
ayer followed up with her about the incident was 2012-28-005194. Kelly also informs
me that the detective squad at the 28th Precinct closed her incident report without
contacting her cither to identify the perpetrator of the attack or review the emergency
roam reports or follow-on orthopedic assessments describing Price’s injuries resulting
from the attack.

Please feel free to contact me concerning these events.

Sincerely

   
 
 

Elizabeth Walker
 

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J. JUN-13-2614

 

Oe oa

Marilyn Benetatos

231 West 120" Street
N.Y, N.Y. 10027

(21.2) 663-5372 (home)
(347) 203-2623 (cell)

3-24-2014

To whorn it may concem:

13Case 1:18:o65871-F" Document 41-3 Filed 01/03/17" Page 24 of 60 P.Bivas”

| was a neighbor of Kelly Price when she lived at 237 West 120" Street. | am a manager in Con Edison
where | have worked for over 26 years. I have approximately 70 employees in my chain of command. 1
fived on the street for over 12 years, walk my dog every day and know and get along with my neighbors.

In the spring and summer of 20114 and later in 2012, there were some problems on the street related to
young teenagers from other blocks hanging out on 120" street vandalizing cars, the school yard, fighting
in the streets and being somewhat threatening to others. Asa result, a group of us from the block
attended monthly meetings at the police station to make our issues known there and to get further on-
going support from the police and the community officer. The police were very helpful, offered a lot of
support and worked with us and the principal at the local school and facilitated the problem going away.

After the formal meeting, the head of the station, Captain Rodney Harrison, invited attendees to speak
with him personally about issues of concern. | went up ta him after one of these meetings and asked
him why more was not being done to help Kelly Price, who everyone knew was being battered. | was
concerned because the young teenagers seemed to be learning the wrong thing from the situation. At
that time, Captain Harrison told me that he had never seen anything like it, but he/the police were told
to not respond to Kelly Price without the direct instruction of the District Attorney's office. He said it

was strange but indicated that, to some extent, his hands were tied.

| found his response really surprising, so it stood out in my mind. I don't remember when or in what

circumstances | came to be telling Kelly Price the details of my interaction with Captain Harrison.
Please fee! free to contact me, should | be able to assist you further.
Sincerely, .

Marilyn Benetatos

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‘ MoS Picrooeio rade © Ol OO

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Marilyn Benetatos

231 West 120" Street
N.Y. N.Y. 10027

(212) 663-5372 (home)
(347) 203-2623 (cell)

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problem going away.

 

After the formal meeting, the head of the station, Captain Rodney Harmison,
invited attendees to speak with him personally about issues of concern. 1
went up to him after one of these meetings and asked him why more was not
being done to help Kelly Price, who everyone knew was being battered. I
was concerned because the young teenagers scemed to be learning the wrong
thing from the situation. At that time, Captain Harrison told me that he had
never seen anything like it, but he/the police were told to not respond to Kelly
Price without the direct instruction of the District Attorney’s office. He said
it was strange but indicated that, to some extent, his hands were tied.

I found his response really surprising, so it stood out in my mind. I don’t
remember when or in what circumstances I came to be telling Kelly Price the

 
 

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_details of my interaction with Captain Harrison.
Please feel free to contact me, should J be able to assist you further.

Sincerely,
 

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The New York Fimes |

N.Y. / REGION

In Conspiracy Trial, a Query: What,
Exactly, Is a Gang?

By JOHN ELIGON OCT. u1, 2011

From a telephone on Rikers Island, an inmate barked out his orders to a man in

Harlem, prefacing them with an explanation.

“Yo, there’s money out there right now,” the inmate, Jaquan Layne, said. “Go ;
outside.”

The man on the other end of the line, Jeffrey Brown, turned to the others inside
the Harlem apartment and echoed Mr. Layne’s orders: “He said there’s money out
there right now. Go to the block.”

There were other directives: Mr. Brown should collect some money from a
woman named Gloria, and if she asked any questions, she should be told that Mr.
Brown was “taking care of this now” because Mr. Layne was locked up. Another man
in the apartment, Habiyb Mohammed, was asked to monitor the others because they

were “new at what they’re doing right now, so, like, keep them on point.”

This recorded phone call and dozens of others between Mr. Layne and his
friends form the central issue in a trial in Manhattan that might at first seem simple:

What is a gang?

To Manhattan prosecutors, a gang is a structured criminal organization, and Mr.
Layne’s worked together as a drug-selling enterprise that defended its turf, a block of
137th Street, with violence.

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But to the lawyers for Mr. Layne and four co-defendants, the group, while
perhaps selling drugs, was anything but a structured trafficking enterprise.

The trial began three weeks ago and is expected to go to the jury on Wednesday.

The defendants, portrayed by prosecutors as gang leaders, are Mr. Layne, 21; his
brother Jahlyl, 18; Mr. Brown, 20, who is.a cousin; Mr. Mohammed, 31; and
Jonathan Hernandez, 19. Jahlyl Layne is charged with second-degree conspiracy.
The other four are charged with first-degree conspiracy, which carries a maximum
sentence of life in prison.

The prosecutors, who must prove that the defendants agreed to commit a crime
and took steps to do so, are using the recorded telephone conversations to illustrate
what they say is the behind-the-scenes planning and structuring of a drug

organization.

Conspiracy charges are generally difficult to prove, legal experts said, but they
offer prosecutors a. great reward: they can bring down multiple defendants at once
and wipe out entire pockets of crime.

Karen Friedman Agnifilo, chief of the trial division in the Manhattan district
attorney’s office, speaking generally about gangs and not about the case currently on
trial, said, “They might not be as structured or organized, but they’re not less
violent.” She added, “We're focusing on violence.”

She said Cyrus R. Vance Jr., the Manhattan district attorney, emphasized a
holistic approach in which the office not only prosecuted violent groups, but also
promoted community-building activities to help keep young people away from

crime.

Law enforcement authorities said that modern-day gangs in New York City
shared several characteristics: members tend to be young, under 20; they are
territorial, attaching themselves to a specific block or housing project; they are well
armed and instantly violent. Some gangs simply exist to fight other gangs, while

others are centered on crimes like gun trafficking.

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In the 137th Street case, prosecutors said, Jaquan Layne was the ringleader of a
gang tied together by a drug operation. But where prosecutors hear strategy and
planning in telephone conversations, Mr. Layne’s lawyer, Franklin Rothman, hears a
young man who likes to boast.

“They have nothing on Jaquan Layne other than his big, stupid mouth that got
bim in trouble,” Mr. Rothman said in his opening statement. “He’s not part of a
conspiracy. He’s not part of this gang. He’s a guy from the block.”

In one call, Jahly] Layne seemed intent on collecting on a debt, even though he
was in jail.

“You know them fiends stil] owe me that money, too,” he told the man on the
other end of the phone. “Go get that money, B.”

“I’m gonna go knock on that door for you,” the man responded. “I got you.”

Prosecutors said some of the calls also described the group’s violence and the
passing of weapons. Pierce Gross, who is not on trial but was one of the people
charged with the 137th Street group, told someone in a recorded call that “Jon
snapped,” meaning he had fired a gun.

My, Gross was speaking of an episode, prosecutors said, in which Mr.
Hernandez fired several shots at someone, leading to an attempted-murder charge
being prosecuted in the trial.

Some of the phone calls displayed internal strife, prosecutors said. In one call,
Jahlyl Layne told Louis Williams, who prosecutors said was in the gang, that
someone was “gonna kill” him and others in the group who were still on the streets
because, he said, using a term for money, they “ain’t setting no chicken out” to those

who were in jail. They were “due a spanking,” Mr. Layne said.
Mr. Williams called Mr. Layne’s bluff, saying they were not “gonna kill nobody.”

Tn another call, Jaquan Layne appeared to complain that Mr. Brown and
another man were still selling drugs but not putting any of the money in his
commissary account at Rikers. They “ain’t sending me no paper,” Mr. Layne told

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Afrika Owes, a former private-school student who.was also charged in the case but
pleaded guilty to lesser charges.

“Who they selling it for?” Ms. Owes asked.
“They self,” Mr. Layne responded. i

Mr. Rothman, his lawyer, has said that that answer indicated an every-man-for-
himself attitude, rather than some structured drug organization with people working

together.

‘Yet in another call, Mr. Layne appeared to be instructing Ms. Owes on how to
take care of herself. After she explained that she was carrying guns, Mr. Layne told
her that if things got crazy, she should use them — “let it go, let it go.”

“I got you,” Ms. Owes responded.

“Make sure,” Mr. Layne said, “head shots only.”

A version of this article appears in print on October 12, 2011, on page A21 of the New York edition with
the headline: In Conspiracy Trial, a Query: What, Exactly, Is a Gang?.

 

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Maria Strohbehn
Assistant Dystrict Attorney, Manhattan District Attorney's Office
Location
New York, New York (Greater New York City Arca)
Industry
Law Practice
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Current
» Assistant District Attorney at Manhattan District Attorney's Office
Past
* Law Clerk et U.S. Department of Justice, U.S. Attorney's Office, District of Maryland
* Intern at State Attomey’s Office, Anne Arundel County
« Law Clerk at National District Atlomey's Association/ American Prosecutot's Research Institute
‘see-all...
Education
« The George Washington University Law School
* University of Maryland Balhmore County
Connections
77 connections
Maria Strohbehn's Experience
Assistant District Attorney ;
Manhattan District Attorney's Office
Law Practice industry
Scptember 2008 — Present (2 years 11 months}
- Rescarch and waite various pre-trial and post-conviction motions, including motions in oppasition of
dismissal, motions in opposition of vacating judgment, and motions for protective order
- Write search warranls includng residences, computers, cellular telephones, and other tmebile 1cchnology
- Present cases to the grand jury in Manhattan, from complex identity theft cases to domestic violence
assaults
- Investigate and prosecute long-term employee fraud
Serve as First Chair on bench and jury trials
Organize ital strategies by reviewing evidence and developing themes
- Collaborate with family lawyers in domestic violence-related custody and divorce issues im the
Inlegrated Domestic Violence Part of the New York County Supreme Court
Volunteer, such as a presentation to adolescents in upper-Manhattan on various aspects of the enminal
law and law enforcement issues in New York, including dating violence
- Attend continuing legal education seminars including a lecture on vanous forms of financial evidence,
and its collection
Write complaints to commence prosecution on the basis of a thorough review of evidence in shifts,
including shifts into the early morning
- Balance a cascload of about three-hundred active cases with an aggressive court schedule: Chosen to

bepin working on a bureau based project targeting gang-related violent crime in the 28th
precinct in 201)

 
 

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12/20/10

9:32 PM

4/2 Chalupa u fucking with this dude: but you on my back about girls. trying to get me
locked up for no reason. When | get locked up I’m showing and telling

2/2 everything. And calling warren once | get locked up.

9:46 PM: | will tum your life upside down one I'm in Jail.

10:02 pm: Yea if you say so Hoe: Everybody is going to know

10:25 pm: so they will love all the great things | got to show them

40:31 pm: its your word against mine let's play | got pi and everything else. Daddy and
mommy and big bro will love my info. And | saw your speed dial u got two guys on
speed dial ur sad broke and a hoe. ura loser : ,

10:33 pm: warren rob warren rob warren rob they going to love me

12/21/10

6:37 am: lets have make up sex my dick is rock hard

(12/21 time unidentified sometime between 6:37 and 10:17 am}

[TEXT BENEATH NAKED PHOTO OF ME]

U see that window that’s your house. Just leave me alone please | don't want to be with
someone that wants to get me locked up. Plus Hoeing

(12/21 time unidentified sometime between 6:37 and 10:17 am)

(TEXT BENEATH NAKED PHOTOs OF ME]

Two taps | can see every word even your number and | got more. Just leave me alone
and stop lying to the cops. I'm not going to fuck you intilf | get lock up for no reason

10:17 am
| have Keys

10:19 am: U think I’m playing. Play with the cops and u will never hoe or work again
10:21 a.m: Your is too

10:25 a.m. thanks more for the cops when you get me locked up
 

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10:28 Not when they see what | got and the people who will come downtown to help me
10:32 that paper will

12/22:

9:02 a.m.: Did you pay my car note

9:20 am: | was making a lot of money when | had my car. How u think | saved your ass
so many times. When u had no money. | would love it if u can pay my car note like you
said u would but if not we can go 310 310 = 620 or | can pay It by myself just the the
info. please | need that car on the streets. | don’t have to get nj plate it koool. | will wait
intill the weeks are up. ate the gym (’m taking a cab to my lot and going to the dmv to
take back my plates

RESPONSE 9:30 am: You ignore every holiday you spend hem with someone else
including my birthday | can’t wait till your car is gone

9:28 am: when they take my car I’m telling every thing that on niya

9:30 am: once that go u know what's going to happen

i

9:30 am RESPONSE: ! am not talking to you until | get my phones and i'm warning you
stay away from the DMV u have no right to conduct my business

10:07 am: So get my car took of u want. Just know what’s happens after. no order can
stop me from talking.

RESPONSE: 10:10 am | hate you for ruining me but | will survive you been doing me
filthy for too long

10:16 am: Hell no tell me how? other way around. Ruining you how? Ur selfish an iu
fuck me with the cops or my car u will nat survive because I’m going to really ruining u
like u keep trying to do to me. But I’m going to OVER DOSE ON YOU. So give me the
info or let’s go half or pay the note. but that car is not going no where,

40:22 am: | will never fuck you. But u fuck me so many times. So I'm not letting u get
away no more. You know right from wrong so u fuck me ’'m going hard. Please | love
you so don’t make me do this
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Fri, 22 Apr il 1450 Page 3 of 8
Chart Review Print

Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hd6 Price, Cathleen 1674607 1674607-4 40Y¥ ¥

Attending Physician
Meletiche, Carlos M, MD

ED Adult RN Initial Note -- cont'd

Braden Scale : Score: 22 Scale: no risk Sensory Perception: responds to
verbal commands,has no sensory deficits Moisture: akin
is usually dry Activity: walks Exequentiy during
waking hours Mobility: makes position changes without
assistance Nutrition: eats over half most meals or on
tube feeding or TPN regimen which probably meets most _
of nutritional needs Friction/Shear: moves in bed and
in ¢hair independently.

‘Skin Lesions?; yes

Lesion Detail: Lesions: laceration, hematoma Location: right.posterior
thigh, facial = ———-—~—~~——~—S

Lesions: laceration Location: right thigh, left buttocks,

face
Photo : not applicable
problem List:
Diagnosis :
Working Diag:
Resulted by ; Lopez,Michelle, RN (ESOF)

Ordering MD : (8SOF)
 

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Fri, 22 Apr 11 41450 Page 4 of 8
Chart Review Print

Metropolitan Hospital Center

 

Location Patient Name Patient Number Visit Number Age Sex
DIS-Hd6é Price, Cathleen 1674607 1674607-4 40¥ F
Attending Physician

Meletiche,Carlas M, MD

MDInitNote DellaFavaA
Event Time: Thu, 11 Nov 10 0336 Status: complete

Thu, 11 Nov 10 0606 Documented by Carlos M Meletiche, MD

 

T ; 97.9 F (36.6 C)
P ‘ : 84 bpm
BP : 129/77
R : 18
_ Pain . yes
Pt Walked Out? : ne
ime PtoSeen 1 11Now201.0..03265 : SS a = —
Visit Provider ; Albert David Della Fava, MD
Attending i : Carlos M.Meletiche, MD |
Communication : Direct Communication in Patients's Primary Requested
: Language ,

Chief Complaints : Assault Sustain 3 laceration to Rt posterolat thigh and
facial hematoma

TB / Pneumonia ; Fever: no Cough: no Night Sweats: no Weight Loss: no
°° Shortness of Breath: no |
Assessment - we wol, mild distress however patient calmed during exam, |

no respiratory distress or SOB, abrasion/bruise to right

' ¢nfraorbit, no orbital tenderness BOMI, erythema to
lateral necic and throat, 5S cm laceration te left buttock,
41.5 om lacerations to right hip, no honey deformates or
joint complaints

Plan : clinical work up as ordered
Diagnosis . Assault by other specified means
E&M Level : mon critical visit

Non-Critical Vst : 99283 expanded problem focused hx, exam and mod complex MDM
Attend'g Addendum: Gen Supv

DAWN? 2 no |
Comment ; Gee paper chart
Diagnosis : 3968.8 Assault by other specified means

Principal Pr: E968.8 Assault by other specified means
Case 1:15-cv-05871-KPF Document 41-3 Filed 01/03/17 Page 47 of 60

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Chart Review Print

Metropolitan Hospital Center

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Location Patient Name Patient Number Visit Number Age

DIS-Hdé6 Price, Cathleen 1674607 1674607-4 40¥

 

 

hy z

Attending Physician
Meletiche,Carlos M, MD

 

PHM/PSHx/Fam:

Diagnosis :

Working Diag:

Resulted by : Meletiche,Carlos M, MD (ESOF)
Ordering MD : (EBSOF)

_ ED RN Disposition Assessment
event Time: Tha, Ii Nov 10-0550 a Status:_complete..

thu, 11 Nov 10 0558 Documented by Nakita Mccoy, RN

discharge Disposition: treated & released

Jome Care Discharge +: na .
Diagnosis ' ; Assault by other specified means !
Vital Signe . : SBP:: 121 mmHg DBP:: 64 mmHg P: 76 %bpm R: 17 T:

97.8 F (36.6 C) Temp Route: oral 02

/ ; : Saturation: 99 % Comments: ROOM AIR

Barriers to Ledrning : none -

DC Plan : MEDICATION AS PRESCRIBED. FOLLOW UP IN CLINIC AS .
DIRECTED. RETURN TO ER FOR ANY NEW OR WORSENING

CONCERNS . NAD NOTED.

Valuables /Clothing : patient kept at own risk

ccmnment : PT OUT WITH STEADY GALT. RESP EVEN /UNLABORED . WO
DISTRESS NOTED. PT VERBALIZED UNDERSTANDING OF INSTR
PROVIDED BY DELLFAVA, MD

Medication Order (s} > Adacel (Tdap 11-64y) (Tetanus Toxoid, Reduced
Diphtheria Toxoid & Acellular Pertussis Vaccine
Adsgorbed)

Medication Effect (3) » no adverse effects for all new medications

Diaqnosis ;
Working Diag: 5968.8 Assault by other specified means
 

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Case 1:15-cv-05871-LAP Document 16-3 Filed O5/09/18, ae 71 S

Fri, 22 Apr 11 1450 Page 6 of 8B
Chart Review Print |
Metropolitan Hospital Center

Location Patient Name Patient Number Visit Number Age Sex

31S -Hd6 Price, Cathleen 1674607 1674607-4 40Y F

Attending Physician
Meletiche, Carlos M, MD

———Ses eee SS ea a ES ete ar oe Sn a eS ee Se el

BD Chest Pai:
Diagnosis

Resulted by : Mecoy,Nakita, RN : (ESOF)
Ordering MD : BSOF)

 
 

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Metropolitan ospltal Center

 

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Dejtartuent of Emergency Medicine ‘ 5 at's iy F
190 First Avenue . ; )
New Yark, NY 10029 RE ser ~ ay
212-423-6466 C07 Sabah ay
sorb tates 3 Ti tacit Fc

( poses Patient Name

4a = faselngton plote

Discharge Instructions for: SPO OLE
(condition)

‘The emergeacy examination and Weatiment you received ugttny js mol inended lo rovlde you with a complete mmed)cal workup, You
should follow-tip with a physicina for further nvajuation amd trealintst, Uf you have any questions or concerns regerding your cinetgeacy
department treatment, pleaso returs to the Fanergency Pepmtment Notify your own physician for any new or remaining problems. if

x you are concemed aboul those problems, picase relum to this or any other Gorergency Bepartinent, Otherwlse, follow these Insluctlons
: below, .

The ressilis of xrmnys, ullrasounds, blood lesis and EKGs wre preliminary ot this time. They wil! be reviewed by a specialist, osuolly

willlia 24 tours, Should Wt be netexsury, you will be coulacied. Notisy your pilmery cars physician if you hac such ests done Suing
your emergency visit.

Please make sure thot you tinye notified the physicians and nurses of alt af your past itedtcal and surgical histary as well as any |
medicattont (including over-the-counter and Jcbal preparations) thal yon ate cprtantly taking. ‘

Reiurtt to the Energeney Departinent, of any other eniergeney Department, for sny current of aw jirotlern tint you think nny bee
serlous threat tu your health, These problems vary depending of your underlying couutition, but Include such problems ns high fever,
severe pain, shortiess of lreath, persistent vomlting, excessive dlacthea, heavy bleedinp, binck stools, seizure/convurlsion of chanye in
beluivior. Ask your nutse or doctor tp Inform you of ay problems that may le more speelfic ta your visit teday,

_ Coutlive Ieking uny previously preserlbed medications, in addition lo any new ones front (oday, unless ulherwise Infordied? Pleaxe make

sure that you have nfiemed us jouay of al} of your medications and altergias to medications foods, Including any recently changed by
any other doctor,

Medications: Tsetner. HE "2 reas he revary Evtay thew tate hows ‘
Apirge SPH nas Sp tener Auer bet AF any

Please pick up or ask for ay printed educational matertals that we may have specific 10. your probable condition.

 

Make an sppointiient to:
O fallow up with your primary care provider within days. Ifyou dunt ive a pelmary care provider, you cw) call oarclinic
sppottaent teniter al 217-423-7000 fer on appolaunest fe the _ clinic, Inform them that you need to be seen whihtis
this number of days,
oz Siollow mpin Souseey clinic whittin, 4 __ days 212-425-7000,
aX totlow wp ln fA ___ clinic withia f 7 days at 212-473-7099, '

 

 

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FAMILY COURT OF THE STATE OF NEW YORK
CITY OF NEW YORK: COUNTY OF NEW YORK |

Proceeding
KELLY CATHLEEN PRICE, :

Petitioner, : DOCKET NO,
0-10874/10

-against-

RAHEEM POWELL, . ‘ |

’ Respondent. 7
eee ee ee re a x
Held: 60 Lafayette Street

New York, N.Y. 10013
——— March 24;-2011— Part 5 el i

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11
Before: HONORABLE LORI S. SATTLER, JUDGE

12

13 Appearances: ;
EDWARD GREENBERG , ESQ.

14° ° Attorney for the Petitioner
15
WILLIAM O'HEARN, ESO. :
16 Attorney for the Respondent ;
17
18 i
Also Present:
19 ‘
Kelly Price |
20 Raheem Powell |
21
22 !
Kitty S. Ivizarry i
23 official Court Reporter |
24 |

25

 
 

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Proceedings

 

 

1 COURT OFFICER: Six and fourteen in the matte:
2 Price and Powell.
3 counsel, your appearance,
4 MR. GREENBERG: For the petitioner, Your Honor —
5 Edward C. Greenberg, 570 Lexington Avenue, New York, New ©
6 York. |
7 Good morning. |
B COURT OFFICER: Raise your right hand.
9 (Whereupon, the following parties were sworn if
10 by the court officer.) |
———— i MS... PRICE::. Kelly Catherine Price. 3
12 MR. POWELL: Raheem Powéll. |
13 THE COURT: Good morning, Your Honor.
14 You are entitled to have an attorney in this |
ike proceeding. If you don't have an attorney, I can assign «|
16 to represent you. You can also decide you would like to i
17 forward on our own without an attorney, or if you would |
18 like, you can hire or consult with an attorney that you
19 would pick.
20 Do you want an attorney in this proceeding? |
al MR. POWELL: Yes.
22 THE COURT: What's your source of income at the
23 present time? Are you working?
24 MR. POWELL: Yes.
Z5 THE COURT: How much are you earning?

ee

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|

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1 MR. POWELL: Like 5250 a week.
2 THE COURT: Are you a4 member of a union?
3 MR. POWELL: (No response) ;
4 (Whereupon, the -following party was sworn in E
5 the court officer.)
6 DETECTIVE SIMMONS: paeestive Linda Simmons,
7 shield number 2653 of the 28 Detective Squad.
8 THE COURT: Sorry to drag you in, Detective
5 Simmons, but I have a couple of questions, since I was
10 informed that you are here to arrest the petitioner.
1 _ a DETECTIVE” SIMMONS >—We-are here to-pick-her—up =
12 for another detective that will be arresting her.
13 THE COURT: Anything related to my case here? |
14 DETECTIVE SIMMONS: It's between the two of th |
15 It's between the two of them and how she calls him and |
16 threatens to have him arrested if he doesn't come seé her.
17 ‘(Whereupon, Mr. O'Hearn entered the courtroom.
18 THE COURT: Mr. O'Hearn is going to be
19 representing the respondent .
20 Do you want to note your appearance.
21 MR. O'HEARN: William O'Hearn, 225 Broadway,
22 appearing for the respondent.
23 THE COURT: Okay. 50 he had a family offense
24 case at some point sn time, but your Order of Protection
25 vacated when you didn't show up on March 9th.

 

 

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Proceedings

 

 

1 MR. POWELL: I was on the wrong floor. |
2 THE COURT: Did you file again? |
3 MR. POWELL: No. |
4 THE COURT: So are you picking her up for
5 violating the order? |
6 DETECTIVE SIMMONS: She is going to pe arreste |
7 for aggravated harassment.
8 THE COURT: Okay, got you.
9 MR. GREENBERG: Your Honor, with respect to |
‘10 Mr.. Powell's claim that he was in the wrong room, I know
~ At ~~ -¥Your Honor is very busy and doesn't —soseber- EMS SESS
12 this case --
13 THE COURT: No. I actually remember it.
14 MR. GREENBERG: Good. Then Your Honer will
15 remember that we delayed to call this case for quite, some
16 time because Mr. Poweil was not here, and Your Honor calle
17 the case at 11:02. |
18 THE COURT: Your client wasn't here either on |
19 that date, as I recall.
Z20 MR. GREENBERG: That's correct, and I expressec
21 concern about the safety of my client. So while the court |
22 officer called the case at about 9:32, Your Honor didn't
23 hear it until about 11:00. This was a 9:30 case, so I don
24 know how Mr. Powell couldn't have found his case within an
25 hour and a nalf.

 

 
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Proceedings

 

THE COURT: His case was dismissed. He paid
consequence of not being here.

I think the bigger issue is your client is ab
to get arrested. And I am hearing that right now, and
perhaps that makes me concerned about whether I actually
need to continue an Order of Protection in this case,
because he is not getting arrested, she is getting arrest

Detectives investigated the stories?

DETECTIVE SIMMONS: Yes.

THE COURT: And don't find her story to be

credible? ———$—S ——
DETECTIVE SIMMONS: No.
MR. GREENBERG: We have a couple of competing
issues. Issue number one, and perhaps not the most

important, but I think it should be before Your Honor befc

the case is discussed before you, no request was made of na

office to surrender Ms. Price, notwithstanding the fact tk ©

I had lengthy conversations with detectives at the 28
Precinct, including Detective Flowers, who is, presumably,
going to be the detective arresting Ms. Price today.

I had a conversation with Mr. Flowers for over
five minutes, and at no time did he ask me to bring
Ms. Price in, nor had any request been made to me or to
Ms. Price’ other attorney to bring her in. She would have

been brought in and this exercise, perhaps, would have bee)

 
 

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Proceedings

1 avoided or at least postponed, That's issue one, Your
2 Honor. 3
3 Number two, there was an Order of Protection |
4 sought against Mr. Potiell, whose acts of violence against
5 Ms. Price are well documented by hospital reports and so
6 forth. The detectives have come in here, and I understanc |
7 their responsibilities, as they see them, but they come ir |
B here without any adjudication at all based on, solely, the |
9 word of Mr. Powell, whom Your Honor has already awarded |
10 Orders of Protection against, presumably, because Your Hor |
LL wae-saticesad——— - mM
12 THE COURT: Excuse me.
13 An ex-parte order of Protection -- Everyone co.
14 in here and does an ex-parte the first time, and I -- This
15 js the first time I have the parties in front of me.
16 MR. GREENBERG: That's true.
17 Not all ex-partes. Ms. price had been here
18 before.
19 MR. O'HEARN: The most recent one was ex-parte
20 because he didn’t show up, but that's not the initial one.
21 There was evidence that satisfied Your Honor to issue an
22 Order of Protection, apparently, where Mr. Powell was here |
23 on prior occasions. |
24 MR. GREENBERG: My recollection, Your Honor, i
25 when I was here three or four weeks ago, Your Honor state‘

 
 

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Proceedings

 

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blackmail zon the text messages from Mr. Powell to mysel,
letting me know exactly what would happen to me if I ever
did such things like leave him, report the physical ongot
physical abuse.

THE COURT: Were the nude photos you are allec
on there?

MS. PRICE: No. He never sent them to me.

THE COURT: How, again, did you know ‘there wet

photos of you?
MS, PRICE: People in my neighborhood and

children in my neighborhood fannt me and taunt me with thre”

phones when I walk by.

THE COURT: Did you see what was on the
children's phones?

MS, PRICE: No, I did not.

I am happy to present respectable adults in my
neighborhood, especially the owners of the livery cabs
around the corner from me, who showed them to me and said
cannot believe this is happening to you and are willing tc

testify.
THE COURT: I am going to let them do whatever

they have to do, arrest your client,
I will give you another date to come back.
I will put in a usual terms Order of Protectiol

and refrain from communication. If he is going to renew h

 
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Case Tin cy UseT LRP 6Document 21-4 Filed OslUA1o Page 42 of 66
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il request, Mr. O'Hearn, he needs to do that. This 18 again: |
2 him.
3 She actually, quite frankly, based on the
4 allegations, I am willing to bet that the Criminal Court
5 will also put in an Order of protection in place. But yo
6 client can decide if he wants to file here, and I will gis
7 you a date to come back to court.
8 MR. GREENBERG: May I make a request with resp
3 to a Zein. date, if it suits the Court?
10 THe COURT: Sure.
a MR GREENBERG i-can—have-any date in the las.
12 two weeks of April, but the first two weeks I can't and I
13 can't in May. So any date anytime that the Court wants f
14 April 18th to the end of the month is fine with me.
15 MR. O’HEARN: I am out the last week of April.
16 THE COURT: I am not here on the 18th or the
17 19th.
18 MR. GREENBERG: Any date that week.
19 THE COURT: How about the 21st?
20 MR. O'HEARN: I am out that weekend.
21 THE COURT: You are ome éna 18th.
22 How about May 2nd? That certainly will give t
23 Criminal Court matter time for us to know what's going on
24 there.
25 I could bring you in earlier. I could bring y

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Proceedings |

 

 

 

  

 

1 in on April 13th or 14th, but, otherwise, we are going to
2 May 2. |
3 MR. O'HEARN: I can appear on May 2nd.
4 MR. GREENBERG: [I will do May 2nd if I have te
5 At what time, Your Honor?
6 THE COURT: Let me pick an available time. |
7 11:00 a.m.
8 MR. GREENBERG: That's fine. All right.
9 THE COURT: I will see you all then.

10 Thank you. :

. 1 1 EEE RRR RARER ERE RE SE AHEEHHENHSER EEE EERE EE EENRER ecmmenrm .
12 Court Reporter's Certification
13 I hereby certify that the foregoing transcript is a true |
14 and accurate record of the stenographic proceedings in the abo |
15 matter. .

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Official Court Reporter
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